      Case 4:07-cr-00399 Document 23 Filed on 02/22/08 in TXSD Page 1 of 7



                            UNITED STATES DISTRICT COURT

                             SOUTHERN DISTRICT OF TEXAS

                                     HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
               V.                                §            CRIMINAL NO. H-07-399
                                                 §
RAYMOND MAYES                                    §


            GOVERNMENT'S RESPONSE TO DEFENDANT’S
MOTION FOR IDENTIFICATION OF AND EQUAL ACCESS TO GOVERNMENT
              INFORMANT-WITNESS FOR INTERVIEW

       The United States of America, by and through Donald J. DeGabrielle, Jr., United States

Attorney, and Assistant United States Attorney, Joe Porto, for the Southern District of Texas, files

its response to the Defendants motion, as follows:

                                                 I.

Anticipated Facts:     In this case the governments expects to elicit testimony that on July 12, 2007,

Houston Police Department Officer’s Christopher Cayton and W. V. McPherson secured a Search

Warrant from Magistrate Eric Hagstette and executed it at 3314 Drew Street, in Houston, Harris

County, Texas and within the Southern District of Texas . Such evidence would be elicited only for

the purpose of explaining how the authorities came to the Drew Street address. This limited

background insight is necessary to avoid the odd appearance that authorities randomly targeted this

defendant and other defendants present at the scene at the time of the execution of the search

warrant. Beyond this limited purpose which would be explained by either Officer Cayton or Officer

W. V. McPherson, the government will not otherwise rely on information from the informant. The

government further expects the evidence to show that the Confidential Informant was not present
      Case 4:07-cr-00399 Document 23 Filed on 02/22/08 in TXSD Page 2 of 7



at the Drew street address at the time of the execution of the Search Warrant. The Confidential

Informant played no part in or witnessed any inculpatory or exculpatory acts, transactions,

conversations, or matters relevant, at the time of the search warrant execution, to the charges alleged

against the defendant in the indictment.

The Law:       The grant or denial of a request to disclose the identity of an informant is reviewable

on appeal only for an abuse of discretion. United States v. Orozco, 982 F.2d 152 (5th Cir. 1993).

Historically, federal courts have recognized the importance of promoting the free flow of information

to law enforcement by protecting the identity of informants. Roviaro v. United States, 353 U.S. 53,

77 S. Ct. 623 (1957). In Roviaro, the Supreme Court held that although the informant’s privilege

was vital to law enforcement, in a situation where the informant's testimony could be relevant and

helpful to a determination of guilt or innocence, then and only then could the informant privilege be

disturbed. The Court also stated no fixed rule relating to disclosure would suffice, and that each case

must be analyzed to determine “the proper balance between the public’s interest in the flow of

information against the individual’s right to prepare a defense.” Roviaro at 60-61, 77 S.Ct. at 628.

In Roviaro the informant was an active participant (emphasis added) in the crime of transporting

drugs and was potentially a material witness on the issue whether the accused knowingly transported

the drugs as charged. After a thorough analysis, the Supreme Court held the privilege must give way

and the informant’s identity exposed in a situation where the stakes are the guilt or innocence of a

defendant.

       In this case Defendant argues if the informant provided any information to the government,

he is entitled to his/her identity, no matter to what degree such information contributed to his arrest

or when the information was given. The informant did not witness, participate in, have discussions

about, or arrange meetings with the defendant leading to the crimes forming the basis of the
      Case 4:07-cr-00399 Document 23 Filed on 02/22/08 in TXSD Page 3 of 7



indictment. By the time the Search Warrant was executed and facts began to develop as a result of

the search of the Drew Street address, the informant was already ‘out of the picture.’ The informant,

therefore, could not possibly make any relevant contributions toward Defendant’s guilt or innocence.

Defendant’s request is subject to a well established three (3) part analysis: (1) a determination of the

informant’s degree of involvement in the crime; (2) the extent to which disclosure is helpful to the

defense; and (3) the government’s interest in non-disclosure. United States v. Orozco, supra; United

States v. Sanchez, 988 F.2d 1384 (5th Cir. 1993), cert. denied, 510 U.S. 878, 114 S.Ct. 217 (1993).

In United States v. Orozco, the Fifth Circuit noted the informant played a minor role, did not

participate in the crime itself, and “may not have even observed the transactions” in issue. In the

instant case, the informant played no role in the Defendant’s involvement in possession with intent

to distribute a controlled substance, the defendant’s possession of a Firearm, and his possession of

that Firearm in furtherance of a drug trafficking offense. The Informant did not participate in any of

the offenses alleged in the indictment, and unquestionably did not witness, observe, or was even

present when any relevant acts or conversations were committed or occurred, respectively. Rarely,

if ever, is it necessary to identify an informant of this sort. United States v. Hickman, 151 F.3d 446

(5th Cir. 1998). In this situation, the public’s interest in securing the free flow of information

outweighs the individual’s right to prepare a defense. United States v. Sanchez, supra; United States

v. Cooper, 949 F.2d 737, 749 (5th Cir. 1991), cert. denied , 112 S. Ct. 2945 (1992); United States

v. Freund, 525 F.2d 873, 876-77 (5th Cir. 1976).

        Defendant would not be prejudiced by non-disclosure, but rather, would be prejudiced if the

informant was identified and testified. The informant’s potential testimony could only be harmful

to Defendant. Where an Informant’s testimony could only be harmful to Defendant, disclosure is not

required. United States v. Vizcarra, 889 F.2d 1435 (5th Cir. 1990). Where an informant plays a role
      Case 4:07-cr-00399 Document 23 Filed on 02/22/08 in TXSD Page 4 of 7



as that assumed in this case, and when the prosecution will not otherwise rely on his/her information

in its case in chief, disclosure of the informant’s identity is not required nor is the informant’s

identity Brady or Giglio information. United States v. Hickman, supra.

       Further, there is no requirement that in camera be held on this issue. The decision to hold

such a hearing is within the sound wisdom and discretion of the trial judge. United States v. Valerio,

48 F.3d 58, 62 (1st Cir. 1995) (a district court need not conduct an in camera hearing whenever the

identity of an informant is requested; such decision is entirely within the discretion of the court);

United States v. Cooper, 949 F.2d at 750 (5th Cir. 1991) (Fifth Circuit does not require district court

to hold in camera interview whenever defendant requests disclosure of informant’s identity); United

States v. Fixen, 780 F.2d 1434, 1439 (9th Cir. 1986) (a decision denying request for an in camera

hearing should be overturned only for abuse of discretion); and United States v. House, 604 F.2d

1135, 1139-40 (8th Cir. 1979) (the district court was upheld in denying disclosure and in camera

hearing).

                                                  II.

               The United States respectfully declines to provide the identity of a confidential

informant or any information pertaining to a confidential informant in this case. The government

advises the Court and defense counsel that the informant will not be a witness for the government

at trial. The government will provide names of witnesses immediately prior to trial, in accordance

with the Local Rules of the United States District Court for the Southern District of Texas.

                                                 III.

       The United States will make available any promises, inducements or plea agreements made

with any witness that the government intends on calling during the trial of this cause and the prior

criminal record of any witness pursuant to Giglio v. United States, 405 U.S. 150 (1972).
     Case 4:07-cr-00399 Document 23 Filed on 02/22/08 in TXSD Page 5 of 7



       The United States will comply with its obligations pursuant to Brady v. Maryland, 373 U.S.

83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and their progeny. The United States

acknowledges that Brady material covers exculpatory evidence as well as impeachment evidence as

contemplated by United States v. Bagley, 473 U.S. 667 (1985).

                                               IV.

       The United States is cognizant of its continued duty to disclose newly located discoverable

evidence or material previously requested, as mandated by Rule 16(c), Federal Rules of Criminal

Procedure, and will comply.

                                            Respectfully submitted,

                                            Donald J. DeGabrielle, Jr.,
                                            United States Attorney


                                            :/S/
                                            Joe Porto
                                            Assistant United States Attorney
                                            713/567-9346
    Case 4:07-cr-00399 Document 23 Filed on 02/22/08 in TXSD Page 6 of 7




                      UNITED STATES DISTRICT COURT

                      SOUTHERN DISTRICT OF TEXAS

                            HOUSTON DIVISION

UNITED STATES OF AMERICA             §
                                     §
           V.                        §         CRIMINAL NO. H-07-399
                                     §
RAYMOND MAYES                        §


                                 ORDER

    The Defendants’ MOTION FOR IDENTIFICATION OF AND EQUAL ACCESS TO
GOVERNMENT INFORMANT-WITNESS FOR INTERVIEW is Denied.


SIGNED on ________________________________.




                                   __________________________________
                                   UNITED STATES DISTRICT JUDGE
     Case 4:07-cr-00399 Document 23 Filed on 02/22/08 in TXSD Page 7 of 7



                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing GOVERNMENT'S RESPONSE

TO DEFENDANT’S MOTION FOR IDENTIFICATION OF AND EQUAL ACCESS TO

GOVERNMENT INFORMANT-WITNESS FOR INTERVIEW was electronically sent to counsel

for the Defendant, Samy K. Khalil, Assistant Federal Public Defendant, via e-mail and ECF on

Friday, February 22, 2008.

                                              :/S/
                                          Joe Porto
                                          Assistant United States Attorney
